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                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                  June 10, 2020
                                                               David J. Bradley, Clerk
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         AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Special Agent Thomas G. Seftick, affiant, herby depose and state the following:

   1. I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

      worked as such since July 2015. I am currently assigned to the Houston Field

      Office, Violent Crime Task Force. During my law enforcement career, I have

      been trained in investigations relating to violations of the United States

      Federal Criminal Code, including Title 18 of the United States Code (hereafter

      “U.S.C.”), specifically criminal violations involving bank robbery,

      interference with commerce by threats or violence and assault on federal

      officers.

   2. The facts contained in this affidavit are based upon information provided to

      me by other law enforcement officers, other witnesses, and my own personal

      knowledge. Since this affidavit is made for the limited purpose of supporting

      a Criminal Complaint, I have not set forth each and every fact learned during

      the course of the investigation. Rather, I have set forth only those facts that I

      believe are necessary to establish probable cause for the crime charged. Unless

      otherwise indicated, where actions, conversations, and statements of others

      are related herein, they are related in substance and in part only.

   3. This affidavit is being submitted in support of a criminal complaint and arrest

      warrant. Your affiant states that there is probable cause to believe that

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   TRAVIS MARTIN has committed the offense of Civil Disorder, in violation

   of Title 18, United States Code, Section 231(a)(3) which states in:

         Whoever commits or attempts to commit any act to obstruct,

         impede, or interfere with any fireman or law enforcement officer

         lawfully engaged in the lawful performance of his official duties

         incident to and during the commission of a civil disorder which

         in any way or degree obstructs, delays, or adversely affects

         commerce or the movement of any article or commodity in

         commerce or the conduct or performance of any federally

         protected function.

   The punishment for a violation of 18 U.S.C. § 231 is punishable by

   imprisoned of not more than five years and a fine of $250,000.

4. The term “civil disorder: is defined by 18 U.S.C. § 232(1) as, “any public

   disturbance involving acts of violence by assemblages of three or more

   persons, which causes an immediate danger of or results in damage or injury

   to the property or person of any other individual.”

5. On and around May 29, 2020 the Houston Police Department officers were

   lawfully engaged in the lawful performance of duties related to a civil disorder

   during the protest of the in-custody death of George Floyd. The protest

   involved multiple acts of violence perpetrated by a many individuals, many


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   more than three, which resulted in damage to property and injury to persons,

   including peaceful protesters.

6. Officers Canales and Montalbano were some of the officers assigned to

   control the flow of pedestrian traffic and prevent pedestrians from entering

   Interstate-45. Insterstate-45 (I-45) comprises a section of interconnected

   highways begun through the passage of the Federal-Aid Highway Act of 1956

   which are utilized in the transportation of goods and services for interstate

   commerce. The interstate highway system is funded through a federal fuel

   tax. The ongoing disturbances are affecting the commerce in the city of

   Houston by impeding the delivery of goods shipped on I-45 and throughout

   the interstate highway system to other states.

7. Officers Canales and Montalbano are fully sworn members of the Houston

   Police Department charged with the enforcement of laws of the State of Texas

   and the City of Houston.

8. On May 29, 2020, Officer Canales was charged with controlling the flow of

   pedestrian traffic and preventing pedestrians from entering I-45 near 600

   Houston Avenue, Houston Texas. While in this position, Officer Canales

   observed a male subject wearing an orange shirt and overalls charge at him.

   The subject, later identified as TRAVIS MARTIN, lowered his shoulder and

   rammed into Officer Canales in an attempt to break through the police line


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